                             Case 6:24-bk-03843-LVV                        Doc 7         Filed 07/28/24              Page 1 of 3
                                                              United States Bankruptcy Court
                                                                Middle District of Florida
In re:                                                                                                                 Case No. 24-03843-LVV
Chaim Levilev                                                                                                          Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113A-6                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Jul 26, 2024                                               Form ID: Dntcdfnc                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 28, 2024:
Recip ID                 Recipient Name and Address
db                    #+ Chaim Levilev, 2 Fernmeadow Lane, Ormond Beach, FL 32174-5998

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 28, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 26, 2024 at the address(es) listed below:
Name                               Email Address
Gene T Chambers
                                   gtchambers@cfl.rr.com gtc@trustesolutions.com;gtc@trustesolutions.net

United States Trustee - ORL7/13
                                   USTP.Region21.OR.ECF@usdoj.gov


TOTAL: 2
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[Dntcdfnc] [District Notice Deficient Filing New Case]



                                                  UNITED STATES BANKRUPTCY COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                          ORLANDO DIVISION
                                                          www.flmb.uscourts.gov



In re:                                                                        Case No. 6:24−bk−03843−LVV
                                                                              Chapter 7
Chaim Levilev



________Debtor*________/



                                       NOTICE OF INCOMPLETE AND/OR DEFICIENT FILING
                                          AND OPPORTUNITY TO CURE DEFICIENCIES

   On July 25, 2024 the above named Debtor filed a Voluntary Petition under Chapter 7 of the Bankruptcy Code. The
clerk has noted deficiencies to the petition, schedules and/or other filed papers of this Debtor. Debtor is provided an
opportunity to cure the deficiencies within the time set forth herein. All deadlines run from the original petition file
date unless otherwise noted. This case may be dismissed without further notice or hearing if Debtor fails to timely
correct the noted deficiency.

    Debtors who are not represented by an attorney shall cure deficiencies by filing the required papers with the Court
in person at the Court or by email, facsimile ("fax"), U.S. Mail, or other delivery. Debtors are strongly encouraged to
file by email as there may be delays in the Court's processing of papers received by fax, U.S. Mail, or other delivery.

Debtors may file papers in Orlando cases at the following addresses. If papers are filed by email or fax, Debtor must
also mail the papers to the Courthouse.

flmb−intake−orlando@flmb.uscourts.gov
(Fax) 407−237−8005
U.S. Bankruptcy Court
400 West Washington Street
Suite 5100
Orlando, FL 32801

           All Schedules A through J and the Summary of Your Assets and Liabilities (forms 106 for
           individuals or 206 for non−individuals) were not filed. Pursuant to Fed. R. Bankr. P. 1007(b) and (c),
           Debtor must file the missing items with proper declaration of Debtor no later than 14 days from the
           date the petition was filed.

           A link to updated forms is available on the Court's website at: http://www.flmb.uscourts.gov/forms/.

           If additional creditors not initially provided with the Petition are added on the Schedules, Debtor
           must include $34.00 amendment fee and provide proof of service of the Notice of Chapter 7
           Bankruptcy Case to each additional creditor. For Chapter 13 cases, a copy of the filed Chapter 13
           plan must also be served on the additional creditors.

           The Statement of Financial Affairs was not filed. Debtor must file a signed Statement of Financial
           Affairs using the form B107 for an individual or B207 for non−individuals within 14 days from the
           date the case was filed.

           The Social Security Number is missing or is incomplete in the verified Statement About Your Social
           Security Number(s) (Official Form B121). Debtor must file a signed Statement About Your Social
           Security Numbers (Official Form B121) containing the complete Social Security Number or check
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the box to indicate you do not have a Social Security Number no later than 14 days from the date the
petition was filed.
The Chapter 7 Statement of Your Current Monthly Income and Means−Test Calculation pursuant to
Fed. R. Bankr. P. 1007 (b)(4)(5)(6) and 11 U.S.C § 521(a)(1)(B)(v) was not filed. Debtor must file a
signed Statement of Your Current Monthly Income and Means−Test Calculation (Official Form
B122A) within 14 days from the date the petition was filed. A link to updated forms is available on
the Court's website at: http://www.flmb.uscourts.gov/forms/.

A Statement of Intentions for Individuals Filing Under Chapter 7 was not signed, not filed, or filed
on an outdated form. Pursuant to Fed. R. Bankr. P. 1007(b)(2) and 11 U.S.C § 521(a)(2)A), Debtor
must file a Statement of Intentions for Individuals Filing Under Chapter 7 (Official Form B108),
signed under penalty of perjury within 30 days. A link to updated forms is available on the Court's
website at http://www.flmb.uscourts.gov/forms/.

Debtor shall pay unpaid filing fees in the amount of $ 338.00 within seven days from the date of
service of this notice. Payment shall be made by cashier’s check or money order payable to Clerk,
U.S. Bankruptcy Court at the address indicated below. The Voluntary Petition was filed without full
payment of the required filing fee. In addition, Debtor has not filed an application seeking approval
to pay the filing fee in installments, or an application requesting to proceed in forma pauperis. (for
Chapter 7 cases only)



                                                         FOR THE COURT
  Dated: July 26, 2024                                   Sheryl L. Loesch , Clerk of Court
                                                         George C. Young Federal Courthouse
                                                         400 West Washington Street
                                                         Suite 5100
                                                         Orlando, FL 32801


The Clerk's office must serve a copy of this notice on interested parties.
*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two individuals.
